                                          UNITED STATES DISTRICT COURT
                 Case 2:08-cr-00093-KJM-AC  Document
                                   EASTERN DISTRICT OF790  Filed 07/05/13 Page 1 of 1
                                                       CALIFORNIA

UNITED STATES OF AMERICA                                  )
                                                          )        Case. Nos. 2:08-cr-00093 KJM and 2:08-cr-00116 KJM
                 v.                                       )
                                                          )
CHARLES HEAD, et al.,                                     )


                                 APPLICATION FOR WRIT OF HABEAS CORPUS

        The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                       (X) Ad Prosequendum                               () Ad Testificandum

Name of Detainee:        CHARLES HEAD
Detained at (custodian): Allegheny County Jail, Pittsburgh, PA
Detainee is:             a.)    () charged in this district by:  (X) Indictment () Information () Complaint
                                         charging detainee with:
                or       b.)    () a witness not otherwise available by ordinary process of the Court

Detainee will:            a.)    (X) return to the custody of detaining facility upon termination of proceedings
                 or       b.)    () be retained in federal custody until final disposition of federal charges, as a sentence is
                                 currently being served at the detaining facility

        Appearance is necessary FORTHWITH in the Eastern District of California.

                                 Signature:                        /s/ Michael D. Anderson
                                 Printed Name & Phone No:          MICHAEL D. ANDERSON (916)554-2755
                                 Attorney of Record for:           United States of America

                                            WRIT OF HABEAS CORPUS
                          (X) Ad Prosequendum                 () Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, FORTHWITH, and any further proceedings to be
had in this cause, and at the conclusion of said proceedings to return said detainee to the above-named custodian.

Date: July 5, 2013
                                                    _/s/ Kendall J. Newman______
                                                    Hon. KENDALL J. NEWMAN
                                                    United States Magistrate Judge
_________________________________________________________________________________________________
Please provide the following, if known:

AKA(s) (if applicable):     CHARLES CHRISTOPHER HEAD                          Male
Booking or CDC #:            169607                                    DOB: 07/01/1974
Facility Address:           Allegheny County Jail                      Race: Black
                            950 2nd Avenue                             FBI #: 657193AB2
                            Pittsburgh, Pennsylvania 15219
Facility Phone:              412-350-2000
Currently Incarcerated For:  18/5902(b)(1)
________________________________________________________________________________________________
                                                   RETURN OF SERVICE

Executed on      ____________________________                      By: ___________________________________________________
                                                                       (Signature)
